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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


  JANE DOE NO. 2,                CASE NO.: 08-CV-80119-MARRA/JOHNSON

              Plaintiff,
  vs.

  JEFFREY EPSTEIN,

              Defendant.
  ____________________________________/

  JANE DOE NO. 3,                CASE NO.: 08-CV-80232-MARRA/JOHNSON

              Plaintiff,
  vs.

  JEFFREY EPSTEIN,

              Defendant.
  ____________________________________/

  JANE DOE NO. 4,                CASE NO.: 08-CV-80380-MARRA/JOHNSON

              Plaintiff,
  vs.

  JEFFREY EPSTEIN,

              Defendant.
  ____________________________________/

  JANE DOE NO. 5,                CASE NO.: 08-CV-80381-MARRA/JOHNSON

              Plaintiff,
  vs.

  JEFFREY EPSTEIN,

              Defendant.
  ____________________________________/




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  JANE DOE NO. 6,               CASE NO.: 08-CV-80994-MARRA/JOHNSON

               Plaintiff,
  vs.

  JEFFREY EPSTEIN,

              Defendant.
  ____________________________________/



  JANE DOE NO. 7,               CASE NO.: 08- CV-80993-MARRA/JOHNSON

               Plaintiff,
  vs.

  JEFFREY EPSTEIN,

              Defendant.
  ____________________________________/

  C.M.A.,                       CASE NO.: 08- CV-80811 -MARRA/JOHNSON

               Plaintiff,
  vs.

  JEFFREY EPSTEIN,

              Defendant.
  ____________________________________/

  JANE DOE,                     CASE NO.: 08- CV-80893-MARRA/JOHNSON

               Plaintiff,
  vs.

  JEFFREY EPSTEIN, et al.,

              Defendant.
  ____________________________________/

  DOE II,                       CASE NO.: 08-CV- 80469-MARRA/JOHNSON




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                Plaintiff,
  vs.

  JEFFREY EPSTEIN et al.,

              Defendant.
  ____________________________________/

  JANE DOE NO. 101,                    CASE NO.: 08- CV-80591-MARRA/JOHNSON

                Plaintiff,
  vs.

  JEFFREY EPSTEIN,

              Defendant.
  ____________________________________/

  JANE DOE NO. 102,                    CASE NO.: 08- CV-80656-MARRA/JOHNSON

                Plaintiff,
  vs.

  JEFFREY EPSTEIN,

              Defendant.
  ____________________________________/

         PLAINTIFFS JANE DOES’ 2- 7 NOTICE OF JOINDER IN PLAINTIFFS’
           JANE DOES 101 AND 102’S MOTION FOR NO-CONTACT ORDER

         Plaintiffs Jane Does 2-7 join in Plaintiffs Jane Does 101 and 102’s Motion for No-

  Contact Order, filed May 22, 2009, and state as follows:

         1.     Plaintiffs Jane Does 2-7 incorporate and adopt the facts set forth in the pending

  Motion for No-Contact Order. Additionally, Plaintiffs offer additional facts in support of the

  Motion for a No-Contact Order, as set forth below.

         2.     Upon information and belief, Plaintiffs Jane Does 2-7 were all identified on the

  victims list provided to Defendant Epstein’s counsel in connection with the Non-prosecution

  Agreement, and each has been identified as victims to Defendant Epstein in their pending



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  actions. In June 2008, Palm Beach Circuit Court Judge Pucillo ordered Defendant Epstein “not

  to have any contact, direct or indirect,” with any of his victims. Judge Pucillo clarified that

  forbidden “indirect” contact included, but was not limited to, text messages, emails, telephone

  calls, or messages through third parties. As detailed herein, Jane Does 4 and 7 have been

  contacted on multiple occasions by at least one person representing that she is cooperating with

  and communicating on behalf of Defendant Epstein. In these contacts, the Plaintiffs/victims

  were threatened and harassed.

         3.      As with other Plaintiffs, Jane Does 4 and 7 were first introduced to Defendant

  Epstein by Hayley Robson, who was a high school friend. 1

         4.      Robson had had contact with these Plaintiffs on several occasions in which she

  represented to Plaintiffs Jane Doe 4 and 7 that she is cooperating with Defendant Epstein’s

  attorneys and that she is being financially supported by Defendant Epstein. Moreover, Robson

  has told these Plaintiffs specifically that she is communicating on behalf of Defendant Epstein.

         5.      During these contacts, Robson made disparaging comments to the Plaintiffs and

  also sent disturbing text messages to Jane Doe No. 4. In one text, Robson specifically stated, “I

  just met with my lawyer today and I’m finally done with the Epstein case. LOL. I knew you were

  suing Jeffrey all along and I’ve learned so much about you in the meantime. LOL.” Jane Doe 4

  understood this to mean that Robson had exchanged private information about Jane Doe 4 with

  Defendant Epstein and his attorneys. Since February, 2009, Jane Doe 4 has continued to receive

  text messages from Robson that are sometimes harassing and other times seek information about

  Jane Doe 4’s private life, her lawsuit against Defendant Epstein, and/or her lawyer’s strategy.

  1Ms. Robson was named in at least one civil case against Mr. Epstein as a co-defendant. See
  Jane Doe v. Epstein, case no. 50-2008-CA-0065996, Palm Beach County Circuit Court. Ms.
  Robson brought multiple underage girls to Epstein in addition to Jane Does 4 and 7.



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           6.    On one occasion, Robson approached Jane Doe 7 and disclosed that she was

  cooperating with Defendant Epstein’s defense, and that she (Robson) agreed that she would

  testify against Jane Doe 7 and the other plaintiffs to make sure that none of the Plaintiffs ever

  received any money from Defendant Epstein, making clear that her testimony would not be

  truthful to achieve this end. She also made disparaging comments to Jane Doe 7, accusing her of

  ruining Defendant Epstein’s reputation.

           7.    The very possibility of any contact with Epstein or his agents, including Robson,

  causes anxiety and distress particularly to Jane Doe 4 and 7, as well as the other Plaintiffs. A no-

  contact order should prevent further harassment of the Plaintiffs by Epstein and his agents,

  including, but not limited to, Hayley Robson.

           WHEREFORE, Plaintiffs Jane Does 2-7, respectfully join Plaintiffs Jane Does 101 and

  102 in moving this Court to enter an order granting Plaintiffs’ Motion for a No Contact Order

  prohibiting the Defendant, Jeffrey Epstein, from any contact or communication with Plaintiffs,

  either directly or indirectly, except through Plaintiffs’ attorneys of record for the duration of the

  Order.

  Dated: June 8, 2009                           Respectfully submitted,

                                                By:     s/ Adam D. Horowitz
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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on June 8, 2009, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day to all parties on the attached Service List in the manner specified, either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those parties who are not authorized to receive electronically Notices of Electronic

  Filing.



                                                      /s/ Adam D. Horowitz                 .




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                                         SERVICE LIST
                                 DOE vs. JEFFREY EPSTEIN
                    United States District Court, Southern District of Florida


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                                                            /s/ Adam D. Horowitz




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